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                                EXHIBIT D
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                                                                                            Brown & Brown, Inc.
                                                                                               300 N. Beach Street
                                                                                          Daytona Beach, FL 32114
                                                                                               Fax: (386) 239-7293

                                                                Direct Line: (386) 239-7200 ▪ (800) 877-2769 Ext. 7200
                                                                                             Direct Fax: (386) 239-7293

ROBERT T. BOWLING
Litigation Counsel

                                                July 13, 2021

    VIA EMAIL (martin.sosland@butlersnow.com)

    Martin Sosland, Esquire
    Butler Snow, LLP
    2911 Turtle Creek Blvd., Suite 1400
    Dallas, TX 75219

              Re: UBS Securities, LLC v Highland Capital Management, LP
                  Subpoena Duces Tecum

Dear Mr. Sosland:

    I am in-house counsel for Brown & Brown, Inc., the parent company for Beecher Carlson Insurance
Services, LLC (Beecher). We are in receipt of your subpoena via our process server, CSC, on June 30, 2021.
Beecher is objecting to the documents requested in this subpoena as we have a contract which makes the
documents in our possession for this matter confidential. There may also be privileged communications which
would create an undue burden to search for and produce every document we have. However, if there are
responsive documents which are not subject to these objections, we will produce them notwithstanding the
objections.


    Please contact me at rbowling@bbins.com if you have any further questions.



                                           Sincerely,

                                           /s/ Robert T. Bowling

                                           Robert T. Bowling
